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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_______________________________________
UNITED STATES OF AMERICA                )
                                        )
                       v.               )   Case No. 1:19-CR-10117-IT-7
                                       )
AGUSTIN FRANCISCO HUNEEUS,             )
                                       )
               Defendant.               )
                                       )

    ASSENTED-TO MOTION FOR LEAVE TO FILE UNDER SEAL EMERGENCY
                   MOTION TO MODIFY SENTENCE

       Pursuant to Local Rule 7.2 for the U.S. District Court for the District of Massachusetts,

Agustin Francisco Huneeus (“Huneeus”) respectfully moves for permission to file under seal

his Emergency Motion To Modify Sentence. Counsel for the government has informed

undersigned counsel that it assents to this motion.

       The Emergency Motion To Modify Sentence contains personal health information about

Huneeus that is of a highly sensitive nature. Specifically, sealing is necessary to protect

confidential information regarding the private protected health information and sensitive

personal information concerning Huneeus. Huneeus requests that this information remain

sealed until further order of the Court.

       Local Rule 7.2 permits a party to file a motion to seal or impound certain materials. If

the moving party files a statement supported by good cause, the Court may seal the material

until further order. See Local Rule 7.2(a). In evaluating whether to seal judicial records, courts

weigh the public’s presumptive right of access to judicial records with any “[i]mportant

countervailing interests” that can “overwhelm the usual presumption and defeat access.” See

United States v. Kravetz, 706 F.3d 47, 59 (1st Cir. 2013) (quoting Siedle v. Putnam Invs., Inc.,

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147 F.3d 7, 10 (1st Cir. 1998)).

       The privacy rights of defendants constitute significant countervailing interests that can

overcome the presumption of access. See Kravetz, 706 F.3d at 62-64; In re Boston Herald, Inc.,

321 F.3d 174, 190 (1st Cir. 2003). Courts analyzing whether privacy interests overcome the

presumption of access “consider the degree to which the subject matter is traditionally

considered private rather than public.” Kravetz, 706 F.3d at 62 (quoting In re Boston Herald,

Inc., 321 F.3d at 190). If the information at issue implicates traditionally private subjects, such

as “family affairs, illnesses [or] embarrassing conduct with no public ramifications,” privacy

interests will “weigh more heavily against access.” Kravetz, 706 F.3d at 62 (quoting United

States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995)).

        Medical information is “universally assumed to be private, not public.” Kravetz, 706

 F.3d at 63 (quoting In re Boston Herald, 321 F.3d at 190); see also United States v. Kravetz,

 948 F. Supp. 2d 89, 93 (D. Mass. 2013) (“privacy interest in her medical information

 outweighs the presumption of access”). The proposed information to be sealed here represents

 specific instances where the privacy interests of Huneeus in his medical history clearly

 outweigh the presumption of public access.

                                         CONCLUSION

       The Emergency Motion To Modify Sentence that Huneeus moves to seal includes

highly sensitive information that, if disclosed, would cause severe injury to the privacy interests

of Huneeus. WHEREFORE, Huneeus respectfully requests that the Court grant his motion to

file under seal his Emergency Motion To Modify Sentence.




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                                            Respectfully submitted,

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                                            Counsel for Agustin Francisco Huneeus
Dated: March 16, 2020

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I, Jeremy Sternberg, hereby certify that I have conferred with AUSA Karin Bell and that
the government has assented to this motion.

                                            /s/ Jeremy M. Sternberg
                                            Jeremy M. Sternberg


                               CERTIFICATE OF SERVICE

       I, John A. Canale, hereby certify that this document was filed on March 16, 2020, via the
ECF system, and was sent electronically on that date to the parties’ counsel of record and to
United States Probation Officer Martha Victoria by e-mail.
                                              /s/ John A. Canale
                                              John A. Canale




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